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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO.: 2:22-cv-14102-DMM

   DONALD J. TRUMP,

          Plaintiff

   v.

   HILLARY R. CLINTON, et al.,

          Defendants.

   ______________________________________/

                 UNITED STATES’ MOTION TO SUBSTITUTE AND DISMISS

          The United States hereby moves, pursuant to 28 U.S.C. § 2679(d)(1), to substitute itself

   as defendant for Adam Schiff and Rod Rosenstein. Further, as substituted defendant, the United

   States hereby moves, pursuant to Rule 12(b)(1) of the Federal Rules of Civil Procedure and

   Local Rule 7.1, to dismiss the United States for lack of subject matter jurisdiction. The grounds

   for this motion are more fully set forth in the incorporated memorandum of law, submitted

   exhibits, all arguments advanced in reply, and any additional arguments or evidence submitted

   with leave of court.

   I.     INTRODUCTION

          Because plaintiff advances tort claims against current and former federal employees for

   acts or omissions they committed within the scope of their office or employment, plaintiff’s sole

   remedy is against the United States—not the individual employees—under the Federal Tort

   Claims Act (“FTCA”). As the United States is the only proper party, the Court should substitute

   the United States as defendant for the Honorable Adam Schiff and former Deputy Attorney

   General Rod Rosenstein. The Court should then dismiss the United States because plaintiff
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   failed to exhaust his administrative remedies under the FTCA.

          In his Amended Complaint, plaintiff advances tort claims against Representative Schiff, a

   Member of Congress, and Mr. Rosenstein, a former Deputy Attorney General. Am. Compl. ¶¶

   22, 43. Plaintiff alleges that Representative Schiff “did [his] best to proliferate the spread of

   dubious and false claims through press releases, televised interviews, social media, and other

   public statements.” Id. ¶ 6. Plaintiff points to Representative Schiff’s actions as Chairman of the

   House Permanent Select Committee on Intelligence (“HPSCI”), id. ¶¶ 506–07, and his

   statements in several media interviews, id. ¶¶ 509, 512–14, 644–46, to allege that Representative

   Schiff committed the tort of injurious falsehoods under Florida law. See id. ¶¶ 634–56 (Count

   III).1 Because plaintiff’s tort claims are based upon conduct within the scope of Representative

   Schiff’s employment as a Member of Congress, the United States is the sole and exclusive

   defendant for those claims. 28 U.S.C. § 2679(b)(1). The Attorney General’s delegate, acting

   pursuant to 28 C.F.R. § 15.4(b), so certified. Touhey Certification, Ex. A. Accordingly, this

   action “shall be deemed an action against the United States . . . and the United States shall be

   substituted as the party defendant.” 28 U.S.C. § 2679(d)(1). The Court should substitute the

   United States as defendant for Representative Schiff.

          As to Mr. Rosenstein, plaintiff claims that as Deputy Attorney General, Mr. Rosenstein

   oversaw a Federal Bureau of Investigation (“FBI”) counterintelligence operation named

   “Crossfire Hurricane,” approved a Foreign Intelligence Surveillance Act (“FISA”) application as

   part of that investigation, and spoke with other members of the Department of Justice about

   application of the 25th Amendment. Am. Compl. ¶¶ 394, 420, 431–48. Plaintiff claims these

   actions amounted to malicious prosecution and conspiracy to commit malicious prosecution



          1
              Representative Schiff is only a defendant in Count III.


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   under Florida law. Id. ¶¶ 667–78 (Count V), 679–92 (Count VI).2 Because plaintiff’s tort claims

   are based upon conduct within the scope of Mr. Rosenstein’s employment with the Department

   of Justice, the United States is the sole and exclusive defendant for those claims. 28 U.S.C. §

   2679(b)(1). The Attorney General’s delegate, acting pursuant to 28 C.F.R. § 15.4(b), so

   certified. Touhey Certification, Ex. A. Accordingly, this action “shall be deemed an action

   against the United States . . . and the United States shall be substituted as the party defendant.”

   28 U.S.C. § 2679(d)(1). The Court should substitute the United States as defendant for Mr.

   Rosenstein.

          Upon substitution, the Court should dismiss the United States for lack of subject matter

   jurisdiction. Fed. R. Civ. P. 12(b)(1). To invoke the limited waiver of sovereign immunity

   contained in the FTCA, plaintiff must first administratively present his claim to the appropriate

   federal agencies—here, the House of Representatives and the Department of Justice. 28 U.S.C.

   §§ 1346(b)(1), 2675(a). Plaintiff does not allege that he administratively presented his tort

   claims, and the House and the Department affirm that neither agency has received any such

   claims. Because plaintiff has not exhausted his administrative remedies, this Court lacks subject

   matter jurisdiction over his tort claims against the United States, and it should dismiss the United

   States after substituting the United States as defendant.

   II.    STANDARD OF REVIEW

          A.       Westfall Act Substitution

          “The Federal Employees Liability Reform and Tort Compensation Act of 1988,

   commonly known as the Westfall Act, accords federal employees absolute immunity from

   common-law tort claims arising out of acts they undertake in the course of their official duties.”



          2
              Mr. Rosenstein is only a defendant in Counts V and VI.


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   Osborn v. Haley, 549 U.S. 225, 229 (2007). When a litigant sues a federal employee for

   wrongful conduct, the statute empowers the Attorney General or his delegate to certify that the

   employee “was acting within the scope of his office or employment at the time of the incident

   out of which the claim arose.” 28 U.S.C. § 2679(d)(1). Upon such certification, the United

   States is substituted as defendant in place of the employee and the litigation is thereafter

   governed by the FTCA. Osborn, 549 U.S. at 230.

          The Westfall Act requires substitution of the United States “unless and until the district

   court determines that the federal officer originally named as defendant was acting outside the

   scope of his employment.” Osborn, 549 U.S. at 252; see also Matsushita Elec. Co. v. Zeigler,

   158 F.3d 1167, 1169 (11th Cir. 1998) (“[U]nder § 2679(d)(1), the district court was required to

   substitute the United States as a defendant for Zeigler once the United States Attorney had

   certified that Ziegler’s actions occurred within the scope of his employment.”). “The Attorney

   General’s certification that the defendant was [acting in the scope of his employment] is prima

   facie evidence of that fact.” Jacobs v. Vrobel, 724 F.3d 217, 220 (D.C. Cir. 2013) (citation

   omitted). A litigant challenging the validity of the Attorney General’s delegate’s certification

   “has the burden of proving that the employee’s conduct was not encompassed by the scope of his

   employment.” S.J. & W. Ranch, Inc. v. Lehtinen, 913 F.2d 1538, 1543 (11th Cir. 1990),

   amended, 924 F.2d 1555 (11th Cir. 1991); accord Omnipol, A.S. v. Multinational Def. Servs.,

   LLC, 32 F.4th 1298, 1305 (11th Cir. 2022) (quoting S.J. & W. Ranch, Inc.); Flohr v. Mackovjak,

   84 F.3d 386 (11th Cir. 1996) (same). To rebut the prima facie evidence that the defendants acted

   within the scope of their employment, the plaintiff must allege specific facts establishing that the

   defendants exceeded the scope of their employment. Jacobs, 724 F.3d at 220; accord Davric

   Marine Corp. v. U.S. Postal Serv., 238 F.3d 58, 67 (1st Cir. 2001); Gutierrez de Martinez v.




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   DEA, 111 F.3d 1148, 1155 (4th Cir. 1997); Ezekiel v. Michel, 66 F.3d 894, 899 (7th Cir. 1995).

          B.      Motion to Dismiss for Lack of Subject Matter Jurisdiction

          Federal courts have limited subject matter jurisdiction, leaving district courts the power

   to decide only certain types of cases. Morrison v. Allstate Indem. Co., 228 F.3d 1255, 1260–61

   (11th Cir. 2000). The burden for establishing subject matter jurisdiction rests with the party

   bringing the claim. Sweet Pea Marine, Ltd. v. APJ Marine, Inc., 411 F.3d 1242, 1247 (11th Cir.

   2005). That party “has the burden of establishing, by a preponderance of the evidence, facts

   supporting the existence of federal jurisdiction.” Underwriters at Lloyd’s, London v. Osting-

   Schwinn, 613 F.3d 1079, 1085–86 (11th Cir. 2010) (citing McCormick v. Aderholt, 293 F.3d

   1254, 1257 (11th Cir. 2002)). When faced with a challenge to the Court’s subject matter

   jurisdiction, “the presumption of truthfulness afforded a plaintiff under Federal Rule of Civil

   Procedure 12(b)(6) does not attach, and the court is free to weigh the evidence.” Scarfo v.

   Ginsberg, 175 F.3d 957, 960 (11th Cir. 1997); see also Lawrence v. Dunbar, 919 F.2d 1525,

   1529 (11th Cir. 1990) (the Court “is free to weigh the evidence and satisfy itself as to the

   existence of its power to hear the case.”) (citing Williamson v. Tucker, 645 F.2d 404, 415–16

   (5th Cir. 1981)). In these circumstances, no presumptive truthfulness attaches to the plaintiff’s

   allegations, and a factual dispute does not preclude the court from evaluating the merits of

   jurisdictional claims. Id.

   III.   RELEVANT ALLEGATIONS IN THE AMENDED COMPLAINT

          In this action, plaintiff, former President Trump, seeks damages because defendants

   allegedly “falsif[ied] evidence, deceiv[ed] law enforcement, spread[] disinformation through the

   media, and exploit[ed] access to highly-sensitive data sources” to the detriment of his reputation.

   Am. Compl. ¶ 1. He further alleges that these acts led to “legal issues and political issues,” and




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   that he incurred “substantial economic harm” responding to those issues. Id. ¶ 525. He seeks

   damages for his costs associated with responding to numerous investigations and his

   impeachment.

          A.      Representative Schiff

          Representative Schiff represents the 28th Congressional District of California. Id. ¶ 22,

   504. At all revenant times, Representative Schiff was a member, and then Chair, of the HPSCI.

   Id. ¶ 506. The HPSCI investigated whether candidate Trump or his campaign colluded with the

   Russian government with respect to the 2016 election. Id. That investigation included

   interviewing witnesses and holding hearings. See id. ¶ 507 (discussing witness transcripts). In

   part, through HPSCI activities, plaintiff alleges Representative Schiff was “a vocal advocate of

   the Trump Russia-collision conspiracy story.” Id. ¶ 504.

          Plaintiff also claims that Representative Schiff made false or derogatory statements about

   plaintiff to the press. Id. ¶¶ 509, 512–14, 644–46. In addition to general allegations about

   unspecified interviews as a “senior congressman . . . with national television news stations,” id.

   ¶¶ 644, plaintiff focuses on four press events involving Representative Schiff: a statement to

   unspecified “press” in March 2019, id. ¶ 509; a March 2019 interview on ABC, id. ¶ 512; a May

   2020 interview on CNN, id. ¶ 513; and an April 2021 interview on MSNBC, id. ¶ 514. All

   statements at issue pertain to the Trump campaign’s alleged connection to the Russian

   government during the 2016 Presidential Election. Plaintiff claims Representative Schiff’s

   conduct amounted to injurious falsehoods. Id. ¶¶ 634–56 (Count III).

          B.      Mr. Rosenstein

          Mr. Rosenstein was the Deputy Attorney General between 2017 and 2019. Id. ¶ 43. In

   2016, the FBI initiated a counterintelligence operation named “Crossfire Hurricane” that




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   investigated potential illicit ties between members of the Trump Campaign and the Russian

   Government. Id. ¶ 170. Because of then-Attorney General Sessions’s recusal from matters

   involving the Trump Campaign, Mr. Rosenstein served as Acting Attorney General with respect

   to Crossfire Hurricane. Id. ¶ 434. In that role, plaintiff claims Mr. Rosenstein “overzealously

   targeted” plaintiff, failed to disclose material information, proceeded to oversee the investigation

   despite an alleged conflict of interest, failed to “expose the truth,” failed to question the motives

   and activities of members of the Crossfire Hurricane team, and failed to terminate the

   investigation. Id. ¶¶ 432–33, 436–37, 439–41. As part of the Crossfire Hurricane operation, the

   team engaged in the FISA application process. As Acting Attorney General, Mr. Rosenstein

   approved a FISA application requested by the Crossfire Hurricane team. Id. ¶ 394, 435. Plaintiff

   alleges that Mr. Rosenstein’s involvement in that process was tortious. Id. ¶¶ 433, 438. Finally,

   plaintiff also alleges that Mr. Rosenstein discussed the 25th Amendment (regarding presidential

   succession) with FBI Deputy Director McCabe and “a handful of other Justice Department

   officials.” Id. ¶ 420. Plaintiff alleges the foregoing conduct amounted to malicious prosecution,

   id. ¶¶ 667–78 (Count IV), and conspiracy to commit malicious prosecution, id. ¶¶ 679–92

   (Count VI).

   IV.    ARGUMENT

          A.      The Court Should Substitute the United States as Defendant for Schiff and
                  Rosenstein.

          As the Supreme Court explained, “[w]hen a federal employee is sued for wrongful or

   negligent conduct, the [Westfall] Act empowers the Attorney General to certify that the

   employee ‘was acting within the scope of his office or employment at the time of the incident out

   of which the claim arose.’” Osborn, 549 U.S. at 229–30 (quoting 28 U.S.C. § 2679(d)(2)). Once

   the Attorney General certifies that the defendant federal officer was acting within the scope of



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   his office at the relevant time, the statute itself provides that the United States “shall” be

   substituted as the sole defendant in the action. 28 U.S.C. § 2679(d)(2); see also Osborn, 549

   U.S. at 230 (“Upon the Attorney General’s certification, the employee is dismissed from the

   action, and the United States is substituted as defendant in place of the employee.”) accord

   Matsushita Elec. Co., 158 F.3d at 1169 (same). “[T]he Westfall Act certification must be

   respected unless and until the District Court determines that [the federal officer], in fact, engaged

   in conduct beyond the scope of his employment.” Osborn, 549 U.S. at 251 (original italics

   omitted).

          Here, the Director of the Torts Branch of the Civil Division of the United States

   Department of Justice, acting pursuant to 28 C.F.R. § 15.4(a), issued a Westfall Act certification

   that Representative Schiff and Mr. Rosenstein were acting within the scope of their office or

   employment at the time of the incidents out of which plaintiff’s injurious falsehoods (Count III),

   malicious prosecution (Count V), and conspiracy to commit malicious prosecution (Count VI)

   claims arose. Touhey Certification, Ex. A. The Westfall Act accordingly requires the

   substitution of the United States as defendant in this action.

                  1.      Both Representative Schiff and Mr. Rosenstein are Employees of the
                          Government.

          If plaintiff challenges the Attorney General’s delegate’s certification, the Court should

   reject any such challenge. Plaintiff himself acknowledges that Representative Schiff is a

   Member of Congress. Am. Compl. ¶ 22. He names Mr. Rosenstein as a defendant because he

   was “the United States Deputy Attorney General.” Id. ¶ 43. Thus, each is an “employee of the

   government.” 28 U.S.C. § 2671.

                  2.      District of Columbia Scope of Employment Law Applies.

          To assess whether each employee was acting within the scope of his or her employment,



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   the FTCA instructs the district court to apply “the law of the place where the act or omission

   occurred,” 28 U.S.C. § 1346(b)(1), not the law of the state where the alleged tort had its

   “operative effect,” Richards v. United States, 369 U.S. 1, 10, 82 S. Ct. 585, 591 (1962). As

   noted by the Eleventh Circuit, the issue is “governed by the law of the state where the incident

   occurred.” S.J. & W. Ranch, Inc., 913 F.2d at 1542. The FTCA does not define “scope of

   employment,” but rather asks the district court, as in the case of tort claims generally, to look to

   “the law of the place where the act or omission occurred.” 28 U.S.C. § 1346(b); see also

   Williams v. United States, 350 U.S. 857, (1955) (per curiam) (finding a tort case “controlled by

   the California doctrine of respondeat superior”).

          Here, District of Columbia respondeat superior law applies to the scope of employment

   analysis for both Representative Schiff and Mr. Rosenstein. As to Representative Schiff,

   Congress is located in the District of Columbia and all relevant HPSCI activities occurred in the

   District of Columbia. Plaintiff does not allege that any of Representative Schiff’s media

   interviews occurred anywhere else than the District of Columbia, and, in any event, Courts look

   to the place of employment in circumstances such as this. Harbury v. Hayden, 552 F.3d 413,

   417 (D.C. Cir. 2007). Representative Schiff’s place of employment is the District of Columbia.

          As to Mr. Rosenstein, he served as Deputy Attorney General in the District of Columbia

   and all of his alleged acts or omissions at issue in the Amended Complaint occurred in the

   District of Columbia. His oversight of Crossfire Hurricane occurred in the District of Columbia.

   The United States Foreign Intelligence Surveillance Court is located in the District of Columbia.

   Thus, all relevant acts or omissions pertaining to Mr. Rosenstein occurred in the District of

   Columbia.

                  3.      Under District of Columbia Law, Both Representative Schiff and Mr.
                          Rosenstein Acted Within the Scope of their Employment.



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           Under District of Columbia law, an employee’s conduct falls within the scope of his

    employment if: (1) “‘it is of the kind he is employed to perform’”; (2) “‘it occurs substantially

    within the authorized time and space limits’”; and (3) “‘it is actuated, at least in part, by a

    purpose to serve” the employer. Jacobs, 724 F.3d at 221 (quoting Restatement (Second) of

    Agency § 228 (1958)).3 In applying District of Columbia law to challenges to Westfall Act

    certifications, the United States Court of Appeals for the District of Columbia Circuit “appl[ies]

    [this] test ‘very expansively,’ and in essence ask[s] ‘whether the defendant merely was on duty

    or on the job when committing the alleged tort.’” Allaithi v. Rumsfeld, 753 F.3d 1327, 1330

    (D.C. Cir. 2014) (quoting Harbury, 522 F.3d at 422 n.4). “[T]he District [of Columbia] has

    broadly interpreted the test.” Jacobs, 724 F.3d at 221.

           First, “[t]o qualify as conduct of the kind an employee was to perform, his or her actions

    must have either been of the same general nature as that authorized or incidental to the conduct

    authorized.” Allaithi, 753 F.3d at 1332 (internal quotation and alteration marks omitted,

    emphasis omitted). Under this inquiry, a court must look broadly to “the type of act” the

    defendant undertook, rather than its alleged “wrongful character.” Jacobs, 724 F.3d at 221-22;

    see also Wilson v. Libby, 535 F.3d 697, 711–12 (D.C. Cir. 2008) (explaining that courts must

    “look beyond alleged intentional torts themselves to the underlying conduct,” and therefore, an

    “employee’s scope of employment is broad enough to embrace any intentional tort arising out of

    a dispute that was originally undertaken on the employer’s behalf”) (internal quotation marks

    omitted). This test “is not a particularly rigorous one.” Allaithi, 753 F.3d at 1332. Even




           3
             This test includes a fourth factor to be considered if an employee intentionally uses
    force against another. Plaintiff does not allege that any of the former employees used force
    against him; “therefore that factor is not relevant here.” Kelley v. FBI, 67 F. Supp. 3d 240, 285
    n.34 (D.D.C. 2014).


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    criminal conduct can fall within the scope of a defendant’s employment. See generally

    Restatement (Second) of Agency § 231 (“An act may be within the scope of employment

    although consciously criminal or tortious.”). Indeed, the District of Columbia Circuit has

    repeatedly affirmed Westfall Act substitution in cases involving allegations of criminal or

    otherwise wrongful conduct. See, e.g., Jacobs, 724 F.3d at 219 (defamation and interference

    with prospective employment); Wilson, 535 F.3d at 711–12 (public disclosure of covert CIA

    agent’s identity); Council on American Islamic Relations v. Ballenger, 444 F.3d 659, 664–66

    (D.C. Cir. 2006) (defamation).

            Second, the challenged conduct needs to be “‘substantially within the authorized time and

    space limits.’” Jacobs, 724 F.3d at 221 (quoting Restatement (Second) of Agency § 228). But

    many high-level government officials and staff members have no set “business hours,” and can

    perform official conduct at all hours and locations. High-level officials and staff members do not

    “punch[] out of work at the end of the day or when [they] leave[]” government property. Wilson,

    535 F.3d at 712 n.2.

            Third, the employee’s conduct should be “actuated, at least in part, by a purpose to serve

    the” United States. Jacobs, 724 F.3d at 221 (quoting Restatement (Second) of Agency § 228).

    To be outside of scope, District of Columbia law “requires [that] an employee be solely

    motivated by his own purposes for consequent conduct to fall outside the scope of employment.”

    Allaithi, 753 F.3d at 1333 (emphasis omitted). “[T]he fact that an agent may be motivated by

    self-interest, or interests other than those of its principal, is not dispositive. The issue instead is

    whether there is a complete absence of a desire to serve the principal’s interests . . . .” Klayman

    v. Obama, 125 F. Supp. 3d 67, 84 (D.D.C. 2015); see also Kelley, 67 F. Supp. 3d at 286

    (“[D]efendant Joyce—in directing an investigation—acted with at least a partial desire to serve




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    the FBI, even if, according to the plaintiffs, he did so in a manner that was insufficiently

    solicitous of their privacy or their rights as complainants.”).

                           a.      Representative Schiff

           All of plaintiff’s allegations against Representative Schiff pertain to his actions as a

    member and Chair of the HPSCI, clearly activity within the scope of his office, or statements

    made by Representative Schiff to the press. As a rule, courts have universally recognized that

    Members of Congress act within the course of their office when they communicate with their

    constituents on matters of public concern. “Comments by elected officials on an event of

    widespread public interest” fall within the scope of their employment for purposes of the FTCA.

    Does 1–10 v. Haaland, 973 F.3d 591, 600 (6th Cir. 2020).

           Courts have applied this rule broadly, applying District of Columbia law as well as

    respondeat superior laws of other states. For example, Ballenger arose from the claim that a

    Member of Congress defamed a Muslim advocacy organization by telling a reporter his wife was

    “uncomfortable” living across from the headquarters of a “fund-raising arm” of a “foreign

    terrorist organization.” 444 F.3d at 662. The Congressman made the statement in addressing his

    separation from his wife, and the District of Columbia Circuit rejected the plaintiff’s argument

    that these statements were “purely private” as “at odds with reality” given the “level of public

    interest” in the matter. Id. at 665–66. The Court thus held that the comments fell with the

    Congressman’s scope of employment. Id. at 664. In Wuterich v. Murtha, the District of

    Columbia Circuit upheld the Westfall Act certification in a case arising out of a Marine’s claims

    that a Congressman falsely stated for “his own private purposes” that the Marine’s squad

    “deliberately murdered innocent Iraqi civilians in a cold-blooded massacre” and committed “war

    crimes.” 562 F.3d 375, 378–79 (D.C. Cir. 2009). In Haaland, the Sixth Circuit affirmed




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    substitution, holding that social media posts made from Members of Congress’ official Twitter

    accounts that asserted that high school students displayed “blatant hate, disrespect, and

    intolerance” toward a Native American Veteran fell within the scope of their employment. 973

    F.3d at 594, 599–602. In Chapman v. Rahall, the court upheld certification where a

    Congressman responded to a reporter’s allegations by calling him a “bigoted, right wing,

    redneck, racist wacko,” concluding that the response “was clearly in the scope of his

    employment as a legislator, and was necessary to ensure his effectiveness as a legislator and

    maintain the support of his constituents.” 399 F. Supp. 2d 711, 715 (W.D. Va. 2005). And in

    Operation Rescue National v. United States, the court upheld certification in a lawsuit alleging

    that a Senator defamed an anti-abortion organization at a fundraising luncheon, noting that

    “personal and public motives are often closely related” and that “[i]t is natural for public officials

    to believe that their own success, and that of their political parties, is inextricably linked with the

    public interest.” 975 F. Supp. 92, 108 (D. Mass. 1997).

           Thus, even if they were false or misleading as plaintiff alleges, all of Representative

    Schiff’s media statements identified in the Amended Complaint were made within the scope of

    his employment as a Member of Congress. They all pertained to the investigation of the Trump

    campaign, a matter he was investigating as a Member of Congress, and all addressed a matter of

    widespread public interest.

                           b.      Mr. Rosenstein

           Mr. Rosenstein’s actions as Deputy Attorney General and Acting Attorney General were

    also within the scope of his employment. The allegations pertaining to Mr. Rosenstein in the

    Amended Complaint arise out of his involvement with Crossfire Hurricane and the associated

    FISA application processes. His supervision of the Crossfire Hurricane team was of the same




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    general nature as that authorized or incidental to the conduct authorized. In fact, it was his job to

    provide “overall supervision and direction to all organizational units of the Department.” 28

    C.F.R. § 0.15(b). He also was responsible, as Acting Attorney General, for approving

    applications for surveillance under FISA. 50 U.S.C. § 1804(a). Accordingly, his role in

    obtaining the FISA warrants at issue in plaintiff’s Amended Complaint was also of the same

    general nature as that authorized or incidental to the conduct authorized.

           There are no allegations in the Amended Complaint that Mr. Rosenstein took any acts at

    issue outside of the normal hours or place of his business. Nonetheless, high-level government

    officials have no set “business hours,” and can perform official conduct at all hours and

    locations. High-level officials, such as the Deputy Attorney General, do not “punch[] out of

    work at the end of the day or when [they] leave[]” government property. Wilson, 535 F.3d at

    712 n.2. Thus, all alleged conduct occurred substantially within the authorized time and space

    limits of Mr. Rosenstein’s job.

           Finally, objectively, all acts or omissions Mr. Rosenstein undertook to oversee Crossfire

    Hurricane or authorize FISA applications were actuated, at least in part, by a purpose to serve the

    United States. The test is an objective one, based on all the facts and circumstances of the case.

    It focuses on the “underlying dispute or controversy, not on the nature of the tort.” Ballenger,

    444 F.3d at 664 (quoting Weinberg v. Johnson, 518 A.2d 985, 992 (D.C. 1986)). All pertinent

    allegations in the Amended Complaint pertain to Mr. Rosenstein’s oversight of Crossfire

    Hurricane as Deputy Attorney General, which were acts actuated to serve the interest of the

    Department of Justice, or to the FISA application process associated with Crossfire Hurricane,

    also conduct actuated to serve the interest of the Department of Justice. With respect to internal

    discussions with other Department of Justice employees about the 25th Amendment, that, too, is




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    actuated to serve the United States because the Department of Justice expects its employees to

    discuss and collaborate on legal issues. Thus, all of Mr. Rosenstein’s acts or omissions at issue

    in the Amended Complaint were within the scope of his employment.

           B.      The Court Should Dismiss the United States as Substituted Defendant for
                   Lack of Subject Matter Jurisdiction.

           “Absent a waiver, sovereign immunity shields the Federal Government and its agencies

    from suit. Sovereign immunity is jurisdictional in nature. Indeed, the ‘terms of [the United

    States’] consent to be sued in any court define that court’s jurisdiction to entertain the suit.’”

    F.D.I.C. v. Meyer, 510 U.S. 471, 475 (1994) (quoting United States v. Sherwood, 312 U.S. 584,

    586 (1941)) (citations omitted, alteration in original). The FTCA contains a limited waiver of

    sovereign immunity, subject to numerous exceptions. See 28 U.S.C. § 2680 (exceptions). To

    advance a tort claim against the United States, plaintiff must establish that he complied with the

    administrative presentment requirements of the Act, 28 U.S.C. § 2675. See Turner ex rel. Turner

    v. United States, 514 F.3d 1194, 1200 (11th Cir. 2008) (district court lacks subject matter

    jurisdiction over FTCA action where plaintiff failed to exhaust his administrative remedies).

    A “federal court may not exercise jurisdiction over a suit under the FTCA unless the claimant

    first files an administrative claim with the appropriate agency.” Dalrymple v. United States, 460

    F.3d 1318, 1324 (11th Cir. 2006).

           Where such a claim is not first presented to the appropriate agency, the district court

    must, pursuant to Fed. R. Civ. P. 12(b)(1), dismiss the action for want of subject matter

    jurisdiction. McNeil v. United States, 508 U.S. 106, 113 (1993). Plaintiff does not allege he

    presented his injurious falsehoods, malicious prosecution, or conspiracy to commit malicious

    prosecutions claims to the House of Representatives or Department of Justice. Further, both the

    House of Representatives and the Department of Justice have confirmed that they have not



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    received any such claims. Clouse Decl. ¶ 3, Ex. B; Jenkins Decl. ¶ 3, Ex. C. Accordingly, the

    Court should dismiss the substituted United States for lack of subject matter jurisdiction.

    V.     CONCLUSION

           In light of the Attorney General’s delegate’s Westfall Act certification, the Court should

    substitute the United States as defendant for Representative Schiff and Mr. Rosenstein. The

    Court should then dismiss the United States as defendant for lack of subject matter jurisdiction

    because plaintiff failed to exhaust his administrative remedies under the FTCA.

     Dated: August 18, 2022                            Respectfully submitted,

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